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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                    CASE NO. 8:06-CR-464-T-17-TGW


TULANI JAMES COOPER and
JERMAINE LENARD MOSS
                                        /

                                             ORDER

       This cause comes before the Court on the defendants’ motions for judgement of acquittal
and/or new trial (Docket Nos. 287 and 288) and the response thereto (292). The Court finds the
response to be well taken and it is incorporated herein. Accordingly, it is.


       ORDERED that defendant’s motions be denied.


       DONE AND ORDERED in Chambers in Tampa, Florida this 23rd day of July, 2007.




Copies furnished to: All Counsel of Record
